I" Case 3:08-cv-01252-BAS-RBB Document 120 Filed 08/12/14 Pagell.339 6 Page Tost

i

NUNN RN NM MORON ee a
BIA A RON = SF Cao Qa ak &@ p25

“ANTON C. GERSCHLER, ESQ. esbn 098682

Oo Oo ND WB

“North County Law Firm

| 914-A North Coast Highway 101

Encinitas, CA 92024
Telephone: 760) 633-4060
Fax: (760 633-4066

Attomeys for Plaintiff J ennifer Medina

| DENAM. ACOSTA, ESQ. osbn 69719

‘UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIF FORNIA

JENNIFER MEDINA, an a
Plaintiff,
ve
COUNTY OF SAN DIEGO, et al.,
Defendants.

| ARLENE SUSAN MEDINAan
individual, ROBERT LEO MEDINA an

individual,
. Plaintiffs,
oy -
‘COUNTY OF SAN DIEGO, et al.,
oe Defendants.

3 Date:

Magistrate udge:
Trial Date:

No. 08-CV-1252-AJB(RBB)

(Consolidated with 08- ev-1 305-AJB(RBB))

-). PLAINTIFFS OPPOSITION TO

DEFEDANTS’ MOTIONS FOR
SUMMARY JUDGMENT OR
ALTERNATIVELY SUMMARY

ADJUDICATION

. _ Aug ust 25, 2014
Time: . 10: Oam,. -
Courtroom: Oo

District Judge: C mthia A. Bashant
uben H: Brooks

None s set

Case 3:08°OV 01252: BASREB Document 120 Pred oortartz— Pagelb.3307 Page 2 of 31

Th.

THt.

TABLE OF CONTENTS
INTRODUCTION 2.0... e cence ene e ete c ence cece eg. 2
FACTUAL BACKGROUND .... 0.6... ccc cece cece cece eee. 3
A ATTEMPTED TRAFFIC STOP AND SLOW SPEED PURSUIT ...... 3
B. THE SHOOTING 2... cece cece cece cece ee. 4
DEFENDANTS ARE NOT ELIGIBLE FOR QUALIFIED IMMUNITY
UNDER THE PLAINTIFFS’ VERSION OF DISPUTED FACTS ............ 5
A. BALLISTIC EVIDENCE PROVES SHOTS FIRED WHILE
TRUCK CONTAINED 2.02... e cee eee cece. 5
I. Officers’ Testimony Supports Plaintiffs’ Expert’s Opinion
That The Decedent Was Being Fired Upon While the
Truck Was Still In Containment .....................-...... 6
2. Defendants’ “Scientific” Experts Disregard the Physical
Evidence in Order to Reach Their Contrary Opinions ........... 7
B. DEFENDANTS FACTUAL ACCOUNTS ARE NOT CREDIBLE
AND CONFLICT oo. ccc cece cee ceecee cece. 8
a, Characterization of Speed and Safety of Pursuit.......... 8
b. No Officer/Deputy Corroborates Ritchie Being on the
Passenger Side of the Truck or Shooting Out Tires ....... 8
c. Characterization of Truck’s Movement and Force
is Inconsistent .. 22... eee cece ce cece e ee. 9
d. Description of Shooting Event is Inconsistent ........... 9
€. No Tactical Control Maintained at Scene ............... 9
1. Ritchie’s Version of Events is Incredible .................... 10
2. Nava, Fenton and Taft’s Version of Events Are Not Credible... 10

“Case 3:08-cv ODSSE BAS REE Document 120 rea OBTaT1a “Pagelb.c398 Page 3 of 31

TABLE OF CONTENTS
TV. LEGAL STANDARD .... 0.06. e ccc ceccee ce, 1]
A. SUMMARY JUDGMENT STANDARD ..............0..----0... 1]
B. DEFENDANTS ARE NOT ENTITLED TO SUMMARY JUDGMENT
ON PLAINTIFF JENNIFER MEDINA’S FOURTH AMENDMENT
CLAIM BECAUSE TRIABLE ISSUES OF FACT EXIST ON
WHETHER THE DEFENDANTS’ USE OF DEADLY FORCE
WAS OBJECTIVELY REASONABLE ............ 0000000000005. 12
1. The Use of Force Constituted a Constitutional Violation ....... 12

2. The Law Governing the Use of Deadly Force Was
Clearly Established ..... 0.00000 cece ccc e cee 15

C. NAVA AND FENTON HAD A DUTY TO INTERVENE TO
PROTECT MEDINA NOT SHOOT HIM AND ARE LIABLE

UNDER BOTH CLAIMS ...... 0.0000 c ccc cece cece ceeeecceee. 16

D DEFENDANTS ARE JOINTLY LIABLE ............00..000000.. 18
E FOURTEENTH AMENDMENT ANALYSIS ...............-..... 18
l Deliberate Indifference .......0000000 00 0c. cee ccc eee. 18 :
2 Purpose to Harm Standard ...... 0.00 cece cece cece ee. 19 |
F MONELL CLAIM 2.00.0 e cece eee cecces 21 :
1. Deficient Policies Lead to Decedent’s Death ................. 22 |
|

2. Ritchie Has Demonstrated a Propensity to Use
Excessive Force 2.00... cece cece cece cece eeee. 22

3. The Homicide Investigation is Conducted in a Manner to

Shield County and Deputies From Liability .................. 23
G. MOTION TO STRIKE TESTIMONY ............-...0000-02.2., 25
TV. CONCLUSION 2.20.00. 6 coco ee ecc eee eee eee ee eee ececeeeeeeec 25 !
ii
“Case 3:08-cv-01252-BAS-RBB Document 120 Filed 08/12/14 Pagel 3300 “Page a rst rn

TABLE OF AUTHORITIES

Adams v. Speers

473 F.3d 989 (9th Cir. 2007) 2... ccc cece eee eeee 19
Brosseau v. Haugen

543 U.S. 194 (2004) 20 ec cece eee e nen nenneeeyees 13
Brower v. County of nyo,

489 US. 593 (1989) oo ccc cece cece e sees neeeeey 12
Cordova v. Aragon,

569 F.3d 1183, (10" Cir. 2009)... ccc ec cee cece cees 13
County of Sacramento v. Lewis

523 U.S. 833 (1989) oo ccc cece cee n nee e nn nnnnnues 19, 20
DeShaney v. Winnebago County Dep’t of Soc. Servs.

489 US. 189 (1989). ccc eee cence eee eeeeyees 16
Desorbo v. Hay

343 F.3d 172 (2™ Cir. 2003) 00... cece ccc eee ect e ne eeeeeeeeecs 25

Drummond v. City of Anaheim
343 F.3d 1052 (9" Cir. 2003)... 00. cece cece eeeeeneeees 15

Feeman v. Arpaio
125 F.3d 723, 735 (9° Cir. 1997) 2.00.00... eee Pe eee eee eres I]

Gradstaff'v. City of Borger
767 F.2d 161(5" Cir. 1985)... ccc cee eee 2, 18, 21, 22, 24

Graham v. Connor,
490 U.S. 386, 396 (1989) oo ce ccc ce cece cece ceee, 13, 25

Harris v. Roderick
126 F.3d 1189 (9th Cir. 1997) 20. cece cece ceeeee. 16

iii

“Case 3:08-cv-01282 BAS-RBB Document 120° Filed Os/12712 Pages. 3400" Pages ofa

TABLE OF AUTHORITIES

Hayes v. County of San Diego

638 F.3d 688 (9" Cir. 2011) 2... cece cece cece eeteeeneey 12
Hope v. Pelzer

536 U.S. 730, 741 (2002) 200 ce cc ee eee cence nes 16
Hopkins v. Andaya,

958 F.2d 88 (9th Cir.1992) oo ccc cect eee eens 12
Johnson v. Duffy

588 F.2d 740 (9th Cir.1978) oo ccc ee cence ee teeenas 16
Koon v. United States

518 ULS. 81 (1996) 2. cnet e ee cee e eee ennenae 17
Moreland v. Las Vegas Metropolitan Police Dept.

159 F.3d 365 (Oth Cir. 1998) 2... cee cee cee en neeeay 19
O’Bert Ex. Rel. Estate of O’Bert v. Vargo

331 F.3d 29 (Qnd Cir. 2003) 2... cc ccc cence ee neeeees 11
Plumhoff v. Rickard

134 S.Ct. 2012 2020 (2014) 200. cee eee eee .... 12,13,14

Porter v. Osborn
546 F.3d 1131, 1137 (9th Cir. 2008) 2.0... ee 18,19, 20

Price v. Sery
513 F.3d 962 (9 Cir. 2008) 2... c ccc e ee eenneeaees 13

Saucier v. Katz
533 U.S. 194 at 216 (2001) 2. cece cece ene benees 25

iv

“Case 3:08-cv-01252-BAS-RBB Document 120 Filed 08/12/11 “Pagel 2401 Page CORT err

TABLE OF AUTHORITIES

Smith v. Cupp.

430 F.3d 766 (6th Cir. 2005) 2.0. ccc ccc ev ce eeees 16
Tennessee v. Garner

471 U.S. 1,7 (1985) «0... ee. scene te ee eee eee eeeeaeas 12,13
Ting v. United States

927 F.2d 1504, 1511 (O™ Cir. 1991) oo ccc cece cece. 17
United States v. Koon,

34 F.3d 1416 (9" Cir. 1994) ooo ccc cece ccc cececceceee 17
United States v. Lanier

520 U.S. 259 (1997). oo cece cnn ene e ence eeeeenes 15
United States v. Reese

2 F.3d 870 (9" Cir. 1993) occ cece cee cece ee cceeec cee. 16
Wilkinson v. Torres

610 F.3d 546 (9th Cir. 2010). 0.0. cc ccc cece cceee. 18

Case 3:08-cv-01252-BAS-RBB ‘Document 120 " Filed-08/12/14 ~PagelD.3402, Page 7 of 31-7

_ INTRODUCTION

“Peace:officers stand at the front of law and the ordering processes of society:.They restrain the _
violator, protect the compliant, and represent constituted authority in the scenes of both peace.»
and: turbulence of community life. We depend heavily upon their skill and disposition. They
deserve and require the understanding and support of judges as well as of all citizens. Where any
officer fails--whether for lack of courage, judgment, integrity, or humaneness--all the community

- Suffers. We suffer because vested authority has failed to prevent some harm or because authority
has been sullied and abused. With any abuse of authority the entire ordering process: is
-weakened. The public trusts the entire process less, and antagonism to all figures of authority
rises. No one should be more alert to the cost of failure than responsible law enforcement
officers and we who work in the courts. We must do what we can to avoid the failures, to prevent
their reoccurrence, and--at all times--stay true to the requisites of honesty and accountability

‘ imposed upon all who are at once representative of the law and subject to it. Gradstaff v. City of
Borger, 767 F.2d 161, 166-167 (5" Cir. 1985). :

The stage for this tragedy had already been set by law enforcement: a routine traffic stop for
suspected DUI driving ended in a hail of gunfire in a densely populated beach towri adjacent toa public
train station, restaurants and residential homes. The suspect and decedent was a U.S. Marine just back
from a tour in Iraq. Irresponsible actions by law enforcement officers created the very emergency that.
they claim justify an unjustifiable use of deadly force. Rather than seek the truth concerning the conduct
of the officers, the law enfofcement agency investigated in a manner to give credence fo the officers and
deputies fictionalized and ignore the physical evidence that contradicted their account of events in onder
to shield them and the municipality from liability — some would call it tantamount toa cover-up.

A little over a year prior to the shooting death of the decedent, there was a community outcry —

‘over the back to back shooting deaths of yourig Hispanic males in Vista by Sheriff deputies. In fact,

deputy Mark Ritchie, the principal shooter, was still under investigation for one of the most: .

‘controversial killings at the time Robert Medina was shot and the ensuing homicide investigation.

- Defendants seck to be immunized from their reckless deviation from acceptable law enforcement

: training and policies which created the law enforcement disaster that ultimately resulted in the
| decedent's needless death. Plaintiffs submit that their evidence supports a reasonable jury finding

_ Defendants conduct warrants not immunity but rather punishment in the form of punitive damages: 3

- 2 .

“Case 3:08-cv-01252-BAS-RBB Document 120° Filed 08/12/14 PagelD 3403 Page Sorsr

iy
. FACTUAL BACKGROUND,
: A. ATTEMPTED TRAFFIC STOP AND SLOW SPEED PURSUIT
5 | ~The Decedent Robert Medina had enllistéd i in. the Marine Corps out of high school and was 22
. 6 years old at the time he was shot and killed, After returning from Irag where he was a motor transport
7 driver, he was stationed at Camp, Pendleton and he and his wife Plaintiff Jerinifer Medina had moved
8 from Colorado to San Diego. They rented an apartment in Vista which was an affordable community
. 9 close to Camp Pendleton, Shortly after returning from his tour in Iraq and only a couple months prior to
: . te shooting Robert had been confronted by deputies while washing his truck and when he asked. why
2 they were questioning him he was arrested for. possessing a Marine Corps issued baton,
1 4 Robert had a difficult time adjusting to his life after he retuned from Iraq. On the evening of the
14 shooting, the young couple had a marital spat and he left to go for a drive as he often did when he was
IS | féeling troubled. For reasons now known only to Robert, when a CHP unit attempted to pull him
16 over, he did not stop on the freeway but instead exited into a residential neighborhood (unbeknownst to
7 him it was a known gang territory to law enforcement) and began slowly circling the neighborhood,
| When the CHP unit that was following him suddenly rammed ihis vehicle he panicked. He called his
20 wife Jennifer and told her he was scared and didn’t know what to do. (N OL #8 435 6)
21 Having heard the failure to vie on the radio, CHP officer Martin decided to respond as a back-
22 -| up unit. Officer Martin \ was  familide with the neighborhood andi its gang activity and was concerned that
23 the failure to yield could i in fact bea set-up for a police ambush aby gang mombers, w OL #15 Depo , oo
24 Martin pp. 20- 21, 24. ye In: a doomed compounding of misperceptions, Martin’ s partner Defendant CHP
officer Timothy Fenton would later inrtionally heighten the perceived dange level of the pursuit to
5 7 other law enforcement 3 by broadcasting “945: assault on an officer” calls over. the radio when Robbie
7 g swerved spike strips that were being laid j in his path. The path of travel of the pursuit and the identity of CO

Oo NYA NW Bw Nes .

B Wo Ne

ON:

CA.

i

~. Case 3:08-cv-01252-BAS-RBB “Document 120° Filed 08/12/14” Pagelb 3404 Page Sof ST

the agencies s and officers involved are not in n dispute and set forth in- great detail in ‘the Plaintifis’

consolidated complaint which is the operative pleading f for purposes of this motion and i in official |

investigative records attached as Exhibits 3- 7 to Plaintist Notice of Lodgment of. Bvidence we

Be ‘THE SHOOTING DEATH OF DECEDENT

The pursuit lasted twenty-nine minutes ; fron the time he failed to » pull over until Robbie’ § truck

“was disabled and pinned i in front of the Solana Beach train station. He was surrounded by deputies and

officers yelling commands that not even most of them found ineligible By the time e shots were fired at

| least eleven officers and deputies had arrived at the ; scene and were in close proximity to Robbie’ S truck.

None of the officers or deputies had concerns that Robeit was armed because they could see into
the truck and saw that his hands were occupied on the steering wheel and gear shifter. (NC OL #10, 15:
Nava Depo, Dp. 151, 4-20: Martin Depo p. 42-43, L 25-22.) The officers and deputies also all knew that
the offense was a failure to yield to DUI traffic stop. (Ni OL Hs 4 6) But they were also upset with the
decedent. (N OL #9, 11: Ritchie Depo p. 260- 261, Feriton Depo: 116, 120- 121, 214. ) Fenton had been
on duty for over 10 hours before responding to the call and had been up for over 24 hours. (Fenton Depo
p. 176.) Ritchie had rammed the truck so hard that his airbag had deployed and no doubt it hurt - alot.
(Ritchie Depo at Ex. 12)

The deputies and officers surrounding the truck watched as Robert was 5 trying tor maneuver his

way out of containment between the patrol cars. “Robert” s demeanor was described as calm and
4 determined as he trying to wee his way out. None of the officers stated that they gave, or heard any

other officer give, any warning to Decedent that deadly force would be used if he did not comply with

their commands. (NOL #9, p. 194: 195.

_ Itis thee extreme cross-fire that endangered s so many law enforcement officers that i is the most

obvious factor that defies the Defendants’ alleged justification for shooting, i ise. to protect the safety 0 of. ee

I primarily deputy Ritchie. Cross-fire traveled east fo west and north to south endangering almost a dozen

“= ase 3:08-cv-01252-BAS-RBB Document 120° Filed"68/12/14" PagelD.3405 “Page 10 of 31

- , officers on the scene — some who ¢ ducked ed and fell to. othe ground to avoid the shooters’ cross: fire. F ‘orty on
. 2 (40) rounds were fired by the four Defendants Approximately 37 rounds hit the truck hit the truck with
3 2 striking the e decedent I went into the front fagade of a restaurant and 2 into a bedroom of a home
4 about a mile west of the train station No reasonable peace off officer would shoot a suspect to save one :
5 officer who placed himself in harm’ ‘ way and risk killing or wounding a dozen other peace officers and :
6 potentially citizens ina high density neighborhood.
: . In an attempt to avoid duplication as much as is feasible, Plaintiff I ennifer Medina adopts and
9 incorporates the facts, evidence and legal arguments set forth in co-Plaintft Memorandum of Points
10 and Authorities filed concurrently. The Plaintiffs are jointly filing the evidence in support of their
11 respective oppositions. -
12 | ’ Po, TH.
13 DEFENDANTS ARE NOT ELIGIBLE FOR QUALIFIED IMMUNITY
UNDER THE PLAINTIFES’ VERSION OF DISPUTED FACTS
14 Plaintiffs rely ¢ on the physical evidence which i is reliable to prove their version of the shooting
event. The factual accounts given by the law enforcement officers to justify the use of deadly force are -
17 refuted by the physical evidence. The Defendants and their brethren deputy and officers claim the —
3 decedent maneuvered his vehicle in such a manner that he placed one or more of the Defendants’ safety
19 in jeopardy. However, the ballistic evidence and the accident reconstruction on measuremen and analysis o
20 | performed by the CHP MAIT team disprove that their collective fiction is even possibte let alone
2 l probable
22
A. BALLISTIC EVIDENCE PROVES SHOTS FIRED WHILE TRUCK CONTAINED |
~ “The Sheriff's Department having failed to perform i its own n complet and dadoquat scientific,
5 5 analysis of the ballistic evidence to 0 corroborate the Defendants account of events, ‘the Plaintifi hired
26 |. their own scientist. "pane ballistic expert Mare Fi irestone, Ph, D. , performed a scientific analysis of
27 the ballistic an and scené s video ine including the measurements taken ty the CHP P MALT team and
28 : oe Lo,
md 6B

Case 3:08-cv-01252-BAS-RBB Document 120° Filed 08/12/14 “PagelD.3406.. Page 11 of 31

mo
A

- - concluded d that the 1 physical evidence shows:
9 : : a. Ritchie fred a a total of 14 shots. . There was s evidence of a bullet fragment and
- 3 cartridge to substantiate Ritchie” 5 claim that he shot the tires and if that j is s true then his first two shots.
: 4 x were at thet tires on the passenger side of the truck, Ritchie then fired seven shots from i in front of the
5 ‘truck froma distance of 10 feet before the truck had-broken free traveling due west. He then n moved
6 south (away fe from the drivers side of the truck) firing another five shots. "Firestone Decl. mL 1; NOL #8:
: Depo p. 119, 135, 140, 175, 181, 208-209 and NOL #s.2-3) Taft fired a total of 6 shots and was not i in
9° the path of the iravel of the truck when it broke through the patrol cars and | she began fring when it was
1 Q | in front of her and traveling past hier. (Firestone Decl. 913: NOL. #s 2- -3).
‘J L b . Nava fired a total of 8 shots with his first three shots prior to the truck breaking
12 | free and from the passenger side of the truck, near the passenger window. Otherwise, Nava would have :
13 | had to outrun the truck. (NOL 48, FirestoneDepo. p.l 88-190). _ Nava was never in the path of the truck.
i (Firestone Decl. 12). Fenton fired a total of 12 shots including into the rear of the truck after it had
. broken free from containment and his account of events of the location of Ritchie are inconsistent.
17 (Firestone F Deel 414)
18 1. Officers’ Testimony Supports Plaintiffs’ Expert’s Opinion That The Decedent
. Was Being Fired Upon While the Truck Was Still In Containment |
2» Officer Martin testified he heard ¢ a continuous volley of gunfire immediiely after pinning the
. ek in from the north by placing his front gil push bar up against the passenger door of the trick 7.
9 while the truck * was 3 still on the sidewalk and pinned from the front by Ritchie’ 'S patrol car. “(N OL 41 5:
23 Martin Depo P. 62, 6, 67: 68. } Deputy Barrios was able t to see officer F enton fring while he was
24 looking through the truck’ S driver’ $ side window and then ducked and ran to ) avoid being shot by what . oe
he described : as a ‘continuous volley of gunfire wo OL #13: Barrios Depo. p. 68-69, 82, 84-85:
26 + Officer Seabron heard gunfire ‘not even n milliseconds after Medina’ 8 truck made contact with
| Rit | Ritchie’ s patrol car. (OL #17: ‘Seabron Depo. Pp 61 -62, 77). Sergeant Meniioza told i investigators that ee
28 | gee . a

"Case 3:08-cv-01252-BAS-RBB Document 120” Filed 08/14/14 “Pagel. 8407 Page 12 of a1

op he had seen the truck as he was as pling up and heard punshots as as. he was s getting 0 out of his Heol car, aid
. > that ‘ ‘after the shots were refi red that his fi decedent ’s] vehicle traveled ina westerly direetion and it . we
: 3 coasted to: a stop.” He deseribed two volleys of shots. (Mendoza Depo. P. 64, yo -
4 2. - ‘Defendants? “Scientific” Experts Disregard t the Physical Evidence i in Order”
5 To Reach Their Contrary Opinions ~ -
. 5 The. opinion of Mr. Phillips, the defendants’ collective expert reconstructionist (employed byt the
7 County) is based on Ritchie’s story and disregards MAIT evidence of the scene in order to reach his
8 conclusion on the Path of travel of the truck. wW OL ity &3. ) Notably, according to Mr. Pali evidence
9 was not collected from Ritchie’ s car that is relevant to the homicide investigation and his car was »
10 subsequently destroyed. :

u Importantly, neither the defendants’ ballistic: export or r percent: firearms criminalist working
on the homicide invadtigation’sie were requested to perform a complete reconstruction (like that performed
14 by Plaintiffs’ expert) i in order to determine the location and position of the shooting officers and
15 movement of the truck. Yet the very. purpose of a trai ectory analysis is determine the location of the
16 shooters at the scene and in relation to the truck and which shooters fired which shots and although she .

A7 had enough information to perform a full traj ectory analysis, she did not, and instead limited her -

18 . investigation to the defects i in the truck. (NOL. #19- 22: Martini Depo, 23- 24, 37, Mulligan Depo. 13- 14,
35- 37, 49. 53, 56-57; 67; ‘Paul Depo, P. 34- 37: year Depo P. 48, $1. 53), oe
21 - Ms. Mulligan testified ed she co could not determine whether the shooters were thoviag and the ¢ truck
0 was s stationary or whether the truck was moving forward 0 or in reverse > when he's shots wer fired. :

23 (Mulligan Depo. 57- 58, 63, 8i- 82, ). After conferring w with lead Homicide Detective Enyeart, she :

. 24 performed no analysis of the ti tires of the track to re i in or rule Ritchie’ s ‘acoount that hé shot out the

- 25 tires because they determined that it would not have been the “best use > of their time. ” (Muligan Depo:
26 a
27 |. oo

28. oe
Te

OO NN WB week pet

ob
em os

NooN

Un

md

bo
oR

ho

ho
oO

ase 3:08Cv-01252-BAS-RBB- Document 120 “Filed 68/12/14 Pagelb.3408 “Page 13 oF 31

| B. = _ DEFENDANTS’ FACTUAL ACCOUNTS ARE NOT CREDIBLE AND CONFLICT

depositions each 1 deputy and officer reaffirmed the s statements s provided to homicide i investigators.
without change. The officers accounts conflict on material facts concerning: a) characterization of the

pursuit, b) the location of the officers surrounding the decedent’s truck; c) movement of the truck while

{ it was pinned in by the patrol cars, d) when and how the truck broke free, e) ‘when the shooting began

and how many volleys were fired, f tactical control of the scene, and g) decedent's demeanor:
a. Characterization of Speed and Safety of Pursuit.

opps Sergeant Mendoza who was involved in the pursuit almost: from its inception uni the
shooting characterized the pursuit as slow speed and safe i im his interview with homicide detectives.
Deputy Bairios also described the pursuit as safe (NOL #13: Barrios : Depo. p. 5-18.) Deputy Tat
described the pursuit as slow speed (NOL #12: Taft Depo, P. 140, 156: J. Officer Martin did not see
Medina driving erratically W OL #15: Martin Depo p. 33 ) Neither deputy Ritchie nor + deputy Barto
perceived Medina as s trying to run down an officer, but’ tinstead as trying to evade capture. (N OL: #9, 13:
Ritchie Depo. p. 143; Barrios Depo, p. 53. ) In contrast, officers and deputies described deputy Ritchie’ s

pursuit tactics as unsafe. (NOL #16, Ii: Mendoza, p. 118; Fenton, ‘113, 114)

—b) No Officer/Deputy Corroborates Ritchie Hither Being on: the Passenger Side of the
Truck or Shooting Out Tires: . .

Deputy R Ritchie’ § s story is that immediately upon exiting his patrol car rhe went to o the passenge:

side of the truck and took up a position outside the passenger door whete he could seé the decedent

. arrest which included using a taser or baton and. shooting out the back and front passenger side tires. :

"However, all of the officers claim they saw Deputy Ritchie directly in i Front of Medina’ s tuck

prior t to the time vit broke through the patrol cars. Not one of the other ten officers at the scene, including wo

"Inconsistent testimony of officer creates triable i issue © of fact. Sallenger Vv. Oakes, 473 E. 3d B31 .

(m Cir. 2007). There were at least eleven officers at the scene at the time the shooting began. At their

through the partially rolled down ‘Passenger side window and took time to > deliberate ¢ on how to effect an :

~ ase 3:08- -cv-01252- -BAS- RBB- Document 120. Filed oBrtaria PagEID: 3405 Page 14 rorst”

1 those: arriving contemporaneous with. Richie, ‘who observed him exit this patrol car, ar, comoborate hi his st we
- 2. story that he went to or was as ever on the passenger + side 0 of the ick or that he shot out tthe tuck’ tres to
3 . isableit it, “Rather they place Ritchie i in front of the truck and to the left front area. of his patrol car and
4. never observed him on, the passenger side of the truck nor: did they see hima shooting out tires. w OL #3 . .
5 ‘11- 15: Fenton Depo, pp. 132, 254: Taf Depo, P. 133; Carson Depo , 60, 101; Martin Depo, p. 59, 61 )
6 : '  ¢) Characterization of Truck’s Movement and Force i is Inconsistent
| The officers’ description of the trucks movement befoie it broke from containment varies widely.
Sonie Deputies and Officers describe as a sudden forceful event involving only one or a couple impact :
10. between the truck and Ritchie’ s patrol car. “(NOL # 9, 10, 14: Ritchie Depo, P. 264; Nava Depo, P. 140;
11 Carson Depo, p. 49, Martin, p. 63.) Nava testified that as he: “was running up to the truck, the truck was
12 completely stopped. (NOL #10: Nava Depo. p. 124).. Others describe the process ag requiring time and |
13 deliberation. Deputy Barrios estimated Medina’s truck went backward and forward at least seven times.
ia (NOL #13: Barrios Depo, p. 76). Deputy Taft desoribed the number of times as “several” and that the
. fe truck was trying to‘ “wedge” it” 's way out and she did not see the track move the patrol car. w OL #12:
. Taft p. 99, 128, 130, 133) Others describe: the movement as a » “rocking back and forth. Deputy
1g Mendoza described the force 2 as “pushing”. (N OL #16, Mendoza Depo p. 48. -
1 9 : d) . Description of Shooting Event i is Inconsistent .
30 As set forth i in the Plaintiffs Robert and Arlene’ $ Points anid Authorities pages . 3 through li and .
21 Plaintiffs’ expert Mare Firestone summarized the Defendants various accounts of the shooting i in his :
22 Rule 26 6 report which is attached as an Exhibit to his Declaration The inconsistencies i in the e factual
23 | accounts between the deputies and officers: are estngrng |
24 oe e) . No T actical Control Maintained at the Scene |
. Defendants tactical mistakes were serious sand some expressly because they fesull as s here i ina. °. :
5 7 fatality The Defendants created : a a dangerois situation n by filing to follow their tsining and established
‘ag | policies to ensure safety for the suspect and officers. (Clark Deel s 11 > ed es Be |

“Case 3:08-cv-01252-BAS-RBB “Document 120. Filed 08/12/14“ PagelD:3410 Page 15 of 31

Ao. Ritehie’s Version. of Events is Incredible

——

ifthe other officers are to. be believed, then Ritchie’s version isa fiction. At his deposition,. os
Ritchie wai unable,to testify without referring to his interview statement given to investigators and
brought a highlighted version of it to the deposition to testify from (despite having read it 20 times —
before the deposition.) (NOL #9: Ritchie Depo Ex. 2) Importantly, Ritchie has a propensity to use
deadly force in a reckless manner. (RJN #s A-D.)

Ritchie described the subsequent events to investigators as follows: After pinning in the truck, he

4

CON DA PB WW

saw that it was stuck in the dirt and Decedent was trying to move the truck back and forth to get out. He

pom,
oS

immediately ran to the passenger side of the truck with his gun drawn in case the decedent tried to run.

The truck’s passenger window was partially down, and Ritchie made eye contact with the Decedent and

—_— ee
RoR

began giving commands for Decedent to park the car and show his hand. Because the area was well lit,

pe
» ad”

Ritchie could make out déecedent’s facial features, and he knew that Decedent heard his commands

—
J

because they locked eyes.

ee
ww

Ritchie considered using his expandable baton to break the truck window in order to use pepper

he
nN

spray or taser, but decided it was too difficult to get out. Ritchie then decided to, and did, shoot out the

be e
GO. NI.

| right rear tire of the truck to keep it from getting traction. This was allegedly his first shot.

—
oO

Ritchie trained his gon. back on Decedent; made eye coritact with him, and began yelling loudly

oO

at Decedent to put the car in park and put his hands ‘up. Ritchie then saw Decedent turning the steering

oN
a

wheel and became * “increasirigly impatient” a and “frustrated” with his failure to comply with Ritchie’s s

th
Nw

commands. :

No
2,

Ritchie fired a a second shot at the truck’s front right tire to prevent the truck from n moving any

Ko

further. While still outside the passenger door, he fired a third shot and pointed his gun | n back at

N ow ob.
DoW

such a radius that the front end of the truck was s pointing at Ritchie.

go

210-

Decedent. At that point Ritchie describes the Decedent as backing up his truck and cutting the wheel at

"Case 308-cv-01252-BAS-RBB Document 120 Filed 08/12/14 Pagelb.s411 Page 16 of 31°.

: : rte : oe Ritchie sta states s he watched as as the right front fender and gill came. at him and he deflected dof of
2 the truck and heard two rounds being fred from over his right shoulder. Then, he : “instinctively” fired . . .
3 approximately cight rounds i into, ifie passenger compartment through either the windshield or passenger .
4) : side door ¢ or window. (NOL #9: Ritchie Depo Ex. 2, Dy .
6 | 2. Nd Fenton and Taft's Version of Events Are Not Credible
7 As set forth in Plaintiffs Arlene and Robert Medina’s Points and Authorities at pages ul to 14,
8 their version of events are not credible dnd inconsistent. Nava and Fenton deposition testimony was
9 mately different o on key facts fom the account they : gave o investigator. Nava at his deposition
10 claimed the truck ran up and over Ritchie $ patrol c car to break through, ‘Fenton changed his story on
how he exited his patrol car, what he heard and observed and the time he had to deliberate before
13 shooting. Taft?s account that the truck was s traveling directly at her is just plain contradicted the MAIT
14 | evidence which shows it traveling away from her not at her. (N OL 4s 1, 9-12.)
16} LEGAL STANDARD
My . A. ‘SUMMARY JUDGMENT STANDARD
18 “In considering a motion for summary Judgment, the court may not weigh the evidence or
make credibility determination, and i is required to draw all inferences ina Tight most favorable to
1 the nonmoving party.” ° “Feeman v. Arp 125 F; 3d 723, 735 9" Ci Cir. 1997).
22 In deadly force cases : where the witness most likely to contradict the officer’ s story is dead, ds the
23 court cannot simply accept what may be a sete “Serving acount by the officer but must also consider
24 circumstantial evidence that, if believed, would tend to discredit the officer; and consider whether this
2 evidence could convince a rational jury: that the officer acted unreasonably. ‘As the Court explained in
= , O°Bert Ex, Rel Estate of C O ‘Bert v. Vargo 3311 EB 3d 29 Gnd c Cir, 2003) cert. ‘denied, 513 U. S. 820
58 | 994): o
L il

“. Case 3:08-cv-01252-BAS-RBB.. Document 120. Filed 08/12/14 Pagélb.3412 Page 17 OST

1 o ” given nthe difficult problem posed by: a ‘suit for the: use © of deadly force: in: a which * "the witiess : - - .
ee] a most likely to contradict [the police officer's] story--the person: shot déad--is unable to. testify[,]
Pg ee ae the court may not simply accept what may be a self-serving account by the police officer.. the. ve
fe oS court should "examine all-the evidence to determine whether the officers story is consistent with,
3 ee other known facts.. + [Citations omitted. 1 : Do 2
4 Suinmary. judement in excessive force. cases : should be granted sparingly because the.
5 - reasonableness of force used i is ordinatly a question of fact for the j jny. Hayes v. County of San Diego,
| 638 F.3d 688 " Cir. 201 1)
8 |B. DEFENDANTS’ ARE NOT ENTITLED TO SUMMARY JUDGMENT ON. PLAINTIFF -
wife JENNIFER MEDINA’S FOURTH AMENDMENT CLAIM BECAUSE TRIABLE ISSUES
9 OF FACT EXIST ON WHETHER THE DEFENDANTS’ USE OF DEADLY FORCE." -
0 . WAS OBJECTIVELY REASONABLE .
iH Plaintiff Jennifer Medina assérts that the defendants violated sober Medina’s F sea |
2 | Amendment righit to be free from unreasonable seizure. "In F ourth Amendment unreasonable force
13 | cases, unlike in other cases, the qualified immunity inguiry is the same as the inquiry made on the
14 | merits." Hopkins v. Andaya, 958 F.2d 881, 885 n. 3 (9th Cir.1992).
15 J. The Use of Force Constituted a Constitutional Violation
16 Plaintiff S excessive force claim i is is governed by the Fourth Amendment because
17
“apprehension by the use of deadly force i iS a seizure subj ect to the reasonableness requirement of the
18
19 | Fourth Amendment.” ” T ennessee v. Garner, A471 U. S: 1,7 7 (1985) In addition, the Supreme Court has
50 explained that a F ourth Amendment seizure occurs when there is.a governmental termination of fieedom
21. of movement through. means intentionally applied. " \ Brower v: County of. Inyo, 489 U. 8. 593, 506- 597
22. (1989). The intentional shooting at Plaintife s decedent terminated his freedom of movemient, and he was
23 thus seized.
A . Pe
“A claim that law-enforcement officers used excessive force to effect a seizure is governed by
25 }
cs the Fourth Amendment's ‘reasonableness standard.” ” "Phun v. Rickard, 134 S. Ct. 2012 2020 2014
“(DJetermining the . reasonableness of a particular seizute . ‘requires a careful (balancing of the nature .
and quality of the intrusion c on the individual's Fourth Amendment interests against the countervailing
; “1 2 se a

"Case 3:08-cv-01252-BAS-RBB Document 120 Filed 08/12/14 PagélD 3413 Page 18 oF 31

goverment interests at stake.” e » (quoting Graham v, Connor, 490 U. S. 386, 396 62989).

The Supreme Couit also explained i in Brosseau v.. Haugen (2004) 543 U. S. 194, “it is 0. ~ -
unreasonable f for at officer to "seize an unarmed, nondangeraus suspect by shooting him dead. " an a
wu U. s. at 1 1. But " [whhere the officer has probable ¢ cause to believe that the suspect poses a threat of
serious s physical harm, either to the officer or to others, iti is not constitutionally unreasonable to prevent
escape by using deadly force. " Id at. 197- 198, citing T ennessee v. Garner ( 1985) 471 U. S. 1 (which also
required a waming where feasible. Id. at [1-12). Additionally, “when there is obj ective reason to fear

for 0 one’s safety .. ., but not one’s life then force short of deadly force might be justified; to > justify

OO WDA WB w. 2 oe

10 deadly force, an obje ective belief that an imminent threat of death or serious s physical harm i is s required.” 7

i Price v. Sery, $13 F.3d 962, 969 (9" Cir, 2008),

12) Defendants attempt to argue their motion under the rubric of “high speed chase” to bring this

i3 -case within the fact scenarios faced by law enforcement in Plumhoff and Brosseau by selectively

i jenoring the actual facts of this case:. The Supreme Court’s decisions in Plumhof and Brosseau did not

. =. “declare open season ¢ on suspect Aesing in motor vehicles. “Tf that risk alone could Justify shooting the
suspect, every. chase would end much more © quikly with a swifily fired bullet Cordova vy. Aragon, 5 69

18 | F3d1183, (10 cir 2009)

19 : Here, it was a safe slow speed pursuit arising from a failure’ to yield to an alleged traffic violation

20 by an unarmed suspect ‘who the officers did not believe was dangerous and at the conclusion of the

21 |

pursuit the truck: was contained. when the shooting began. There was no justification for the use of.

2 |
Ce deadly force. Given the multiple officers contradictory stories, their changing testimony, and their
23.) ° .
sworn statements that are starkly contradicted by physical evidence, circumstantial evidence and: expert

24,2:
25 testimony, a reasonable j jury could plausibly find d that the shooting w was 2s precipitated by: an angry deputy

26 predisposed to use ¢ lethal force who lost control at the decedent S perecived defiance of ‘authority which

27: in turn trigeéred a reflexive not protective reaction i in the other officers and that their false statements are oh

BE

“ Case’3:08-cv-01252-BAS-RBB Document 120 Filed 08/12/14 PagelD.3414_ Page 19 of 31"

: | del : deliberate to 0 avoid lia liability y for an unjustified us use of lethal force, as opposed to to being the result of:
. >. _sperceptio or mistooleion - ee
3 fo In support of their claim of gualified i immunity, at pages 12. — is of their Memorandum
4 Dsfndais Ritchie, ‘Taft, Nava and Fenton cite cighteen federal cases where an n appellate court found
5 that the use of deadly force was 2 juste. In each and every case cited, the. court held that the legitimate
6 belief that fellow officers or bystanders were in danger from a fleeing suspect entitled the shooter to
qualified immunity. In every case, ‘the victim of police shootings submitted no physical or¢ other oo
9 evidence whatsoever to contradict the policemen’ S claimed belief they were in immediate danger. 1 The
1 0 Supreme Court’ s recent decision i in Plumhoff v, Rickard, 134°S.Ct. 2012 2020 (2014) does not change ee
1 i the analysis, in n Plumhof there were videos from the patrol cars dash-cams to corroborate the officers’
le account of events. Plaintiffs have provided the Court theit own laundry list of similarly situated casks
13 where qualified immunity was denied (see co-Plaintiffs Points and Authorities at pp. 17-24),
8 - Importantly, 1 in none eof the cases cited by defendants. was any physical evidence offered to
. dispute thea accounts of the officer wie that they feared for the safety of themselves or others, and
17 ‘thus none of the plaintiffs i in 1 those ¢ cases offered evidence which established a triable i issue of fact. That
18 is not the situation im this case. Here; the physical evidence at the scene and scientific analysis
19 demonsirates that the decedent was being fired upon while the iruck was still contained | posing ‘ti :
20 danger or safety threat to the officers and deputies and that a a physical be barrier i m the form ofa cement
21 light post prohibited any movement of the truck to the e right in: order to escape and then proceed directly
. “at deputies Ritchie and Taft as they. claim in onde to justly thei shooting -
. 5 4 : "Defendants submit declarations i in which they state ‘their subj ective belief that they 0 or other
os. officers were in imminent danger from \ the acts of the decedent. Ritehe decl, at para. 1, F enton decl. at
26 - pera 17, Nava dec at para. 15, Taft at para: D Together, the four officers fired 40 rounds at « Devedent’ s '
27 vehicle. » They seck t to o yusaly this hail of gunfire by resting the n mantra a that they “feared for the safety of : :
ae

Se

Case 3:08-6V-01282-BAS-RBB- Dociiment 120” Filed 08/12/14 Pagel 415 Page 20 ort

other officers? 1 » It is obvious that no police office wants to a admit that he ort she killed a suspect for no-
soils reason. Iti is cual obvious th that the four shooting offer have ta tailored their. testimony tor make
4 their actions a appear to be ¢ obj ectively reasonable. The officers’ use of deadly foroe i is not obj ectively
reasonable if a jury could reasonably determine that the offices were n not in reasonable apprehension of
serious harm when they used deadly force, Garner, supra at 1. Whether the officers j in this case had
sucha reasonable belief is a clear question of fact.

What reasonable officer would shoot a 1 suspect to. save one officer from harm, who

0 CO ND WR Wh ee. oe

intentionally placed himself i in harm’s way, and risk, killing ten other officers at the scene? No -

teasonable officer would jeopardize the lives of so o many other officers at t the scene, That j is preisely

=.
Oo

why reasonableofficers at the scene did not shoot — protection of their fellow officers. Iti is miraculous -

pu
—

—
ob

and fortunate that none of the other officers and deputies were shot by Defendants during their hail of

et
ao

gunfire. .

—
-

Here, the officers and the deputies deviated from their pursuit and apprehension policies and the

° ome
UN:

end result was the death of the Decedent. A police departments regulations are germane to the

ID.

reasonableness i inquiry on in an excessive force claim because it could be difficult to conclude that the

officers acted reasonably. if Pihey performed an action that had been banned by their department or of,

bo es
“WO oO

whose dangers they had been warned. ‘Drummond v, » Cily of Anaheim, 343 F, 3d 1052 om Cir. 2008)

nN
o

2. The Law Governing the Use of ‘Deadly Force Was Clearly Established

~_—

- There i is no question that the general principle governing the use. of force i is clearly established:

bo
~w

deadly force i is justified only i ifa a reasonable officer j in the officer’ s position would have had probable

to
Sa.

cause to believe that there was a threat of : serious physical harm to mse or others. United {States ¥:

NW
os

Lanier 520 U, S. 259, 271 4997, ‘The Supreme ¢ Court has’ ‘expressly rejected a requirement d 1 that

No

| previous cases be e fundamentally similar “in order for the law to be clearly established a and has held

Nt
ND ON:

that “a general constitutional rule already identified i in the decisional law may apply with obvious clarity

On.

“Case. 3:08-¢v-01252-BAS-RBB Document 120° Filed 08/12/14 “Pagel 346. Page 21 ors

0 OC NDA UW Row Wy

a

CO NH A

beet : .

~_-

Na
Noe,

tw
Bu

ye to the specific conduct i in » question, even n though the very action in 1 question has not. previously been held...

“unlewfil ” “Hope % Pelzer, 536 US. 730, 741 | 2002)

For example in Smith Vv. Cupp. 430 BE. 3d 766 (6th Cit, 2005), ihe Court held that driving a stolen .

police ¢ car did not. toy: itself p pose a 1 grave enough danger to ‘the public to justi shooting and denied the

‘defendant’ S motion for summary judgment and claim of qualified immunity holding that:

Thus although events developed rapidly, under plaintiffs! version of the facts t this i is not'a case -
where a dangerous situation evolved quickly to a safe one before the police officer had a chance -
- to realize the change... . Instead, this is a case where a jury could conclude that Officer Dunn was
“not in any danger in the first place. The fact that this was a rapidly evolving situation does not,
‘by itself, permit him to use © deadly force. Id at 774- 775. oo 2

The Plaintifis’ evidence described above establishes that there are triable i issues 8.0f material fact »

on the alleged ‘objective reasonableness’ of the shooting officers which preclude summary judement.

Cc NAVA AND FENTON HAD A DUTY TO INTERVENE TO PROTECT MEDINA NOT-

SHOOT HIM AND ARE LIABLE UNDER BOTH CLAIMS

“We have explained t the nature of the causation required in in cases of iis kind in Johnson v.
Duffy, 588 F.2d 740 (9th Cir 1978). There, we held that for purposes of § 1983 ibility the requisite
causal chain can occur through the setting i in motion [of] a series of acts by others which the actor.

knows or reasonably should know would cause others to inflict the constitutional i injury. "Td. at 743- 44

Harris v. Roderick 126 F, 3d 1189, at 1196 (9th Cir. i997)

Plain assert that lability for their respective claims attaches to Ofiicers Nava and Fenton

because ‘they “ned the ability to intercede and prevent [Depuiy Ritchie Ji use 2 of force which i is what

precipitated their own use. The Supreme Court determined that officers do have a a duty to intercede as

follows:

: when. the State takes. a petson into custody aiid holds him there against his will, the
. Constitution i imposes upon it a corresponding duty, to assume some responsibility for his
safety. . . [An] affirmative duty to protect arisés - - from the limitation n which [the state] -
has imposed on his freedom to act. on n his’ own behalf. . eels

United States v, Reese, 2 F. 3d 870, 887- 88 orc Cir. 1995 (ng DeShaney v. Winnebago Conny Dep’ to

= 16-

- 6° Case 3:08-cv-01252:BAS-RBB “Document 120” Filed 08/12/14” Pagelb:2ai7 Page 22 oat

a

sy . fs Soe. Ser VS. 489 u. S. . 189, 199-200 04 989). A “special tletionsip" which includes. a duty to protect ect - -
> | arises when the state e has taken ihe person. into > custody. la ‘At 888; Ti ring v. United States, 921 F. 2d ae
2 3 | 1508, 1511 Cin 1991). ae aes
4 . In the Rodney King case the Ninth Circuit acknowledged t that “[plursuant to to a song line of civil we
5 cases, police officers have a duty 1 to intercede when their fellow officers violate the constitutional rights
e ofa suspect or other citizen.” United States v. Koon, 34 F. 3d 1416, 1447 n. 25 25 (9"* Cir. 1994), vacated :
i in part on other grounds by Koon ¥. United States, 518 U. 8. 81 (1996): Citing to several out-of-circuit
9: cases, the Ninth Circuit noted that:
10 The constitutional right violated by the j passive defendant; is analytically the same as the
tight violated by. the person who strikes the blows. Thus an officer who failed to. — .
11 intercede when his colleagues were depriving a victim of his Fourth Amendment right to
be free from unreasonable force in the course of arrest-would, like his colleagues, be .
L2 ‘tesponsible for subjecting the: ‘victim toa deprivation of his F ourth Amendment rights.
13 Nava was s aware this was a CHP pursuit and ran directly up to Ritchie i in front of the truck and
a stood practically shoulder to shoulder with him, Instead of taking command he drew his weapon
° | because. Ritchie had us drawn. Both he and Ritchie v were not following safe arrest protocol and both
1 7 were yelling commands (that. were not even intelligible to other deputies and officers at the scene).
18 Although Ritchie’ s story is that hey was the first to start firing his* weapon (shooting out tires) al after
19 : deliberation and Nava arrived contemporaneous but did nothing to protect the decedent and instead -
20 opened 1 fire as well.
21 ‘Fenton was s instrumental i in turning a safe © slow sped pursuant into a. calamity. He radioed in an
2 “assault with a deadly weapon” twice during the p pursuit while other deputies and officers perceived it as .
4 4 al benign atm to avoid the spike strips. Fenton v was agitated and encourage more, ill- advised PIT
95 maneuvers telling his pariner a and driver Martin a “Let S ‘end this. Let’ s end this.” He also failed te to
26 intereede at the s scene when he had. an. opportunity to do s $0. Poe
27. Telling of the fictionalized justification for shooting is s the fact that afer the shooting spree
coe lage

“Case 3:08-cv-01252-BAS-RBB Document 120 Filed 08/12/14 PagelD.3418 Page 23 cf 31 ~

NM
So

4. stopped no none of the officers or x deputies who “feared for the safety” of Ritchie looked for him to seeifhe |

“9 | was injured or killed as. the allegedly f feared. (Fenton, p- 262.263) Fenton testified that had he known a

3/ iio one was ‘under the truck, he wyould not have pulled the tigger (p. 289).

4} p. DEFENDANTS ARE JOINTLY LIABLE. at

5 Defendants claim here as the officers did in Granstaff y, City of Bor ger, "767 F. 2d 16] (5 Cit

6 1985) that only the officer who fired the fatal bullet has culpability and if there 1s no conclusive finding

| then there can be no constitutional deprivation by any officer. As the Court summarily dispensed with :

6 ‘the argument explaining:
0 They may as well argue. that no one ona firing squad is responsible for the victim’ 5 death

of unless we know whose bullet first struck the heart: The firestorm that killed James
11 Grandstaff was in. all respects a joint operation: the same recklessness; the same
circumstances, and the sarne object. Each participant was as much at fault as the others,
12 and all are liable for the foreseeable consequences, Each officer who fired his gun
“ encouraged others to do the: same. [citations omitted.]

13
14|E. FOURTEENTH AMENDMENT ANALYSIS
15 Police conduct violates due process if it “shocks the conscience” Porter v. Osborn 546 F.3d
16 1131, 1137 (orn Cir, 2008) Conscience- shocking actions are those taken with either deliberate
7 indifference ora‘ ‘purpose to harm.. - unrelated to legitimate law enforcement objectives”. Id The lower
“deliberate indifference” standard applies to circumstances where “actual deliberation is practical”.

9 | Wilkinson v. Torres 610 F. 3d 546, 554 (9th Cir, 2010),
21 - 1. Deliberate Indifference Standard,
22 - Ritchie’ s version of events i is that he had time t to’ deliberate, , considered other means of of less etal

. 23 force and took the time to shoot out the tires and pause and give commands and retain his gun o on -
a Medina i in: between snoting out the tires. - Onl four officers approached vehicle, the other officer did
not attempt to approach the: vehicle to remove Medina from his truck, An inference can be drain, as it
7 must in Plainttts favor, that the other officers intended to await it Medina’ s “decompression” so > at they -
58 could make z an arrest without having to resort to force. ‘Their conduct supports Plaintiy assertion here
: _ 18 - .

Ser SRA AN 18 MERA tal png Poe eg RS MI NEOR OL ot a Sap. tinge

mroseranntmare tn
| ‘that they v were no longer in a “tense, uncertain and rapidly evolving” situation. Rather, since Medina’ Ss.

COMO A Bw Be

truck was: not going anywhere, they had the opportunity to consider the potential consequences of their -
“conduct” "and had: sufficic ent time in n which to deliberate a a course of action in. order to effectuate . S
Medina’ 's arrest. Lenin 523 U. S. at 851, fa, iu 1 (by actual deliberation, we. 2 do not mean 1 “deliberation in. a
: the : natrow, technical sense in which it has sometimes been used i in traditional homicide ° -
law.. deliberation here does not mean that the n man slayer must ponder over the killing for a long time,
rather i it may exist and may be entertained while the man n slayer is pressing the trigger of the the pistol
9 that fired the fatal shot, even nifi it Fiboonl fora moment or instant of time).
10. “Here, the officers at the scene, specifically Ritchie, had the time to deliberate and weigh the oe

II | competing interests of their actions, eg. the safety of both Medina and the officers i in effecting sii a atrest

12 after a périod of de-escalation.- -

oO 2. Purpose to Harm Standard.
6 In 1998, the Supreme Court held that a police officer, who acts under circumstances where
"actual deliberation i is [not] practical," violates due Process if he acts with a “purpose to cause harm

17° unrelated to the legitimate object of arrest. " County of Sacramento v, Lewis (1 998) 523 U. S. 833,

18 | 836; Moreland v, Las Veeas Metropolitan Police Depi. 159 F. 3d 365, 372 (9th Cir. 1998).

19 “When an officer creates the: very emergency he then resorts to deadly force to resolve, he i is not.
20 simply responding to a a preexisting situation His motives must then be assessed in 1 light of the la law

or enforcement objectives that can reasonably be found tot have justified his actions. Port er, 546 E. 3d at
| (141. Jn Adams v. Speer 473 F. 3d 989 (Oth Cir, 2007) the decedent led the offers 0 ona chase, lngely .
9 4 within the speed limit, for over an hour. The decedent refused to 0-stop even after his cat r was rammed

25 | twice: Td 991. Ultimately an officer shot and killed, the driver without warning. I ‘The Ninth Circuit

26 feeeminet that : no officer could conclude undért the circumstances that deadly force was appropriate,

19S

© Cage 3:08-Cv-01252-BAS-RBB “Document 120” Filed 08/12/14 ~Pagelb 2410 Page 2f ors

27. . due to! “[T]he absence of f warning and the lack of danger to the shooter or others” rendered deadly force e a 3

“Case 3:08-cv-01252-BAS-RBB Document 120 - Filed 08/12/14 ~ Pageib 3420 ‘Page 25 of 300

: - “unnceessay. la at 093.94, -

. 5 ‘Here, 2, Deputy Ritchie; Jike Officer Speers in Adams was an “officer oft ona mission of his own. -
3. creation.” He inter} ected himself into the pursuit without requesting orn receiving s permission causing
4) ather oes to broadcast “assault on an officer” calls, he sped past the pursuit in 1 violation of policy on

5 the wrong side of the highway with no lights or sirens, he rammed the decedent’ s truck and allegedly |

. 6 shot out tires in 1 violation of policy, and created a Situation resulting j in contagious (reactive) fire that
resulted i in the Decedent being shot to death,

, 9 Application of the « "purpose to 0 harm” standard also raises triable issues of fact whether the.

10 defendants intended to harm or kal Mediria and thus acted beyond: the Scope ofa legitimate law :

11 enforcement obj ective, It is the itiferit to inflict force beyond that which i is required by a legitimate law :

12 cfc obj ective that shocks the conscience and gives rise to liability’ under §1983. Porter, 546

13 F. 3d-at 1 140. Such conduct that i is “beyond that which i is required by a legitimate law enforcement

4 objective, “ * is force’ against a suspect meant to “teach a lesson” or to. “get even” even though such ~

. conduct might occur while effectuating ain arrest. Porter at 1141. Where an officer responds to an

W . individual’s unlawful conduct with an instinct to induce lawlessness, or to terrorize, cause harm, or or to
18 kill, then the element of arbitrary conduct shocking the conscience exists and an itoasbe violation of ©
: 19 due process has occurred. Lewis, 523 U. S. at 853: Here, there was no “egitimate law enforcement
20 objective” to warrant or jus the use 6 of f deadly f force. None of the officers were in threat 3 on harm,
2 . let alone serious or deadly harm, - -

~ Along ¥ with an abseinée of legitimate law enforcement objective, ‘strong inferences exist tha that the

“24 shooting ocourred fon account tof Ritchies’ frustration and | anger. Medina was rehsing to comsly with,

4 5 Ritchie’ S s orders to turn off his truck and submit to arrest. The inference ¢ can also be dravin that Ritchie

26. . : fired t because he: was angry and rusted renin () hey was sinvoved in a dhiage Q) his bas

27 deployed causing g him pain GB). his patel car was damaged ®! he fired 1 14 rounds and a(ayh he was
220

‘rmeeenemerar att te enn eit se arancnhushmotastesearar note srt eats seounrsnan nara wenagramene meas!
mM

CO ND WA Row oo. a

se 3:08-cv-01252-BAS-RBB Document 120 Filed 08/12/14" Pagelb.342T Page 26 oF st"

“predisposed t to arrest a suspect at at all costs - evenif ifi it meant deadly force. Ritchie and t the other officer’ ‘Ss : a
: selfsorving secount are post. hoc transparent attempts to iabreate a legitimate la enforcement
|. rationale for their actions. However, their version 1 of events is is patently contradicted by each other and.
|. the cyl evidence,

B. “MONELL CLAIM.

The circumstances in this tragic case are unfortunately too similar to those encountered in the
fifth circuit in Gr andstaff v, City of Bor ger in which the Court upheld a finding of liability against the
City and further observed that the record revealed that. the officers and police department 8 failure to

In Grandstaff the police mistook the decedent for a fugitive and killed him. The police had
attempted to pullover a driver in a truck at 4: 00 a.m. afler he veered out of his lane. “When he refused to
stop, three * patrol cars gave chase at high speeds and gunfire erupted. The driver was wounded and he -

turned off the highway and went through a fence onito a Ranch near a home where he then fled from the

track. | ‘Two more patrol cars attived. The forernan of the Ranch who lived at the house with his family

was awakened and drove to investigate and after reaching the patrol cars the officers opened fire on 1 him

from two sides, when he managed to get out of his trick he was shot i in the back with a high powered.

rifle. At the. time of the firing there were ¢ five poliée cars ina line composing g the entire night shift of the

force. The officers and municipality denied liability throughout and the © case e went to trial where a jury

found i in favor of the Plaintis,

“The Court discussed that were a a City has a policy o or custom of dangerous recklessness which is
a “reckless disregard for human life and safety prevalent: among the city” s police officers which

threatens the life and security of those whom ‘they encounter, and if that recklessness is attributable to.

: the instruction or r example or acceptance of or by, the city policymaker the policy itself isa a fepudiation

of constitutional al rights. ‘Where a police officer knows at the time they ac act that their use Of deadly force

-21--

het 7

0 OC WD WN BR OW hb’.

OY WW Bw BH HS

DN Nl MN NM Bw

ho
oO

\O

| performance of his diities. Despite being the subject of numerous complaints, having shot and Killed two

WN

~~ Case 3:08-cv-01252-BAS-REB ‘Document’120-File Os/I2/14~ PagelD.3422 Page 27 of 81

f in conscious disregard of the rights and safety of innocent third parties will meet with: the approval of |. .

| city policymakers, the affirmative link/moving force is satisfied.” The Court adopted the rationale :

expressed in another fifth circuit case:

. Conscious indifference to widespread incompetence or misbehavior may. be more thana .
matter of extreme negligence and more than a failure to instruct or train. If it is the ..
deliberate. police policy to demand instant.compliance, heedless of rights and risks,
abuses--i.e., mcompetence and misbehavior--will occur, when officers of varying
judgment and stability encounter resistance. If unconfined the policy ordains usé of the
ultimate compulsion, the firearm, upon any appearance of resistance and with only
imagined justification. That policy employs armed officers who subject the public to the
deprivation of their constitutional rights. Where the city policymaker knows. or ‘shiould
know that the city's police officers are likely to shoot’ to kill without justification and -
without restraint, so as to endanger innocent third parties, the city should be liable when
the inevitable occurs and the officers do so. -Id p. 170. a

1. Deficient Policies Lead to Decedent’s Death.
_ Asa result of community outrage over the shooting deaths of four Hispanic males in four days

by Deputy Sheriffs in 2005, an independent audit of the Sheriff's Department was commissioned to
_ address the community’s concerns, -The Use of Force Audit was commenced in July 2006 and was

completed in June 2007 after the Decedent was killed. The Auditors reviewed the Department's policies

involving deadly force including those related to “fleeing” felons and “shooting at vehicles.” The Audit

concluded that the Department's policies were deficient in several respects and specifically that the .
shooting at veliicles policy vias inadequate in its guidance to deputies and should be revised to address .

tactical decisions as to the advisability and effectiveness of moving into the real or potential path ofa.

moving vehicle. The Department, subsequently revised its policy to expressly prohibit shooting to
disable a vehicle. (RIN Ex B-C,) -

2. . Ritchie Has Demonstrated a Propensity to Use Excessive Force -

Depuly Mark Ritchie has an extensive history of violeage having been involved in three

. shootings two of which ended in deaths and other less lethal but éxeessive force complaints while in the

young men in rapid succession, one of which he was subject to indictment for criminal charges for; he’s © -

~ Case 3:08-cv-01252-BAS-RBB Document 120 Filed 08/12/14 PagelD.3423 ” Page 28 of SE —

Se ae ee

NoN IY ON NON NY YW YR Re ee ee
ON DAW BW NE So wo DA a RB Po Ss

: never been  aissptned or even received re retraining. Q@NE Ex. A&E; NOL #9: Ritchie Depot p. 91 ) tis:

ironic or perverse depending upon one’s perspective that Ritchie’s current duty a assignment is the Visia

Courthouse as a + training officer and one eof his duties is s providing ieee update to other officers.

Gitebie Depo p: ‘91.

Robert Medina was shot and killed on November 16, 2006.4 little over a year after Ritchie shot

and killed J. orge Ramirez on July 29, 2005. On June 21, 2007 (or April. 12, 2007 as the rest of the

document is dated), the State of California’s Department of Justice issued a public decision on it’s

review of the San Diego District Attorney’s decision not to prosecute Ritchie for the Ramirez killing. |

And while the Attorney General’s office ultimately found that the District Attomey’s decision was not

an abuse of discretion, it also found that Ritchie’s firing of six rounds into Ramirez’ chest while he was

: wounded and immobilized on his back or side was not-an objectively unreasonable use of deadly force

and could not be justified as self-defense. The State Attorney General concluded that Ritchie’s actions
in shooting Ramirez i in the chest was a “preemptive strike against the possibility of future harm, not to
defend against a perceived imminent attack.” (RIN Bx A, p. 16.)

Here, as in the Ramirez case, | Ritchie interjected himself i into a situation creating a dangerous

) situation which he created that lead to the use of deadly force. Ritchie has a demonstrated propensity for

recklessness i in the use of deadly force:

3. The Homicide Investigation i is Conducted i in a Manner to Shield the County and Deputies
From Liability - . .

Because Ritchie was still being investigated and faced possible indictment for criminal charges

| in the Ramitez case, one could conclude that the inadequacies and incompleteness of this homicide :

“| investigation were by design rather than incompetence or negléct. Although homicide investigators rely :
on the crime lab to determine whether officer factual accounts are corroborated by the physical
evidence, the investigator did not request that t the crime lab ab perform a complete analysis. The crime lab .

_had had all the information it needed to’ perform a full reconstruction of the event in order to rhake an

- 93 =

be

2 OM ND WP Ww

OW BOW NR SO 8 WA A RB oO Pm S&S

8

Nh
LSS

: catastrophic performance could easily | lead a fact finder to conclude that itv was “accepted as, the way oe

* Case 3:08-cv-01252:8AS RBS” Document 120° Filed 68/12/14 - Pagel. a42a Page 2 or st

determination concerning the positon and location of the shot oters sand determine the timing and

sequencing of shooting (as Plaintifts expert did), but they did not. -Conspicuosly the crime lab did not -
perform a scientific analysis o of thet tires in, order to verify Ritchie’ s account of events sof where he sated :

shooting from although his story was patently contradicted by the other officers, «i irestone Decl, TS;

(see section A 6 above. )-

_Nor did the homicide ¢ investigators delve into the inconsistencies between the officers accounts

and the physical evidence. Instead their interviews were suggestive and leading to the officers to

| provide them the * justification” for their use of force and thereby exonerate them from liability. for their

reckless conduct. (Clark Decl. 415: ) Not surprisingly, the Use of Fo orce e Auditors were also critical of

the Department’ s homicide investigation protocols finding the investigations were lacking completeness,
particularly as to deputy witnesses in shooting incidents. The Auditors also criticized the Department’s
failure of its supervisor’s to hold deputies accountable when policy vislations or performance issues
influence shooting incidents. a

It appears upon the facts of this c: case and the Ramirez case, that when the County vrants to
exonerate a - depity as they did Ritchie i in the Ramirez ¢ case, “they ¥ will conduct a thorough investigation

(see traj ectory and casing analysis aitached as Exhibit D to the Attorney General’ s opinion at RIN Ex.

A), but when they want to. shield a deputy, like Ritchie i in this case, they narrowly tailor their

investigation to achieve thei desired result. (RINE Exs A- C. )

In Grandstah the. Court held that repeat a acts of abuse on one night by multiple officers tended
to 0 piove a disposition io disregard human life and safety SO prevalent as to be police poliey or custom.
in this case we have several killings by deputies in a short period of time, and two by orie deputy - uy
Ritchie. The Court further found that the disposition of a policymaker may be inferred by his conduct

and ‘hat the fact that no reprimands ot discharges or admissions of error following incompetent and. o to |

2h

araarnt vectearramsp ren pean
"Case FOTAMOLZGAS-RBB’ Document 120” Filéd 08/12/14 “Pagelb.3425 Page a0 0rst

: things are. done and have been done i in the City.” * And it prior policy had been violated, we we would :
. expect to.see a a different reaction, ” Td. p. 171. os
Cont have peld that the repeated. use of force is sulin reprehensible t to justify punitive es
davinges Desor bo v. Hay, 343 F. 3d 172 en Cir. 2003). There are triable i issues. of fact that preclude
summary judgment on the Plaintifis Monell claim. a

F. MOTION TO STRIKE TESTIMONY

eo Plaintiffs move to strike the Declaration of Dr. Geller and Defendants references to the decedent a

O OW ND HWE eee

Robert Medina’ S ; Death Investigation Toxicology Repott because it has no bearing on ‘what the deputies

10 or + officers knew at the time they chose to use ° deadly force. See page 10 of the County’ s Points and
il 2
. Authorities that the Court’s inquiry is to be based “tipon the facts and information the involved deputy

12:1-. . .

possessed” at the time. Oo Jd

. oo, - >. CONCLUSION i

15.

Ifan excessive force claim ‘ ‘tums on which of two conflicting stories s best captures what :

16:| oo

7 happened 0 on the street” , summary judgment i is inappropriate. Saucier v. ‘Katz 533 U. S. 194 at 216 :

. 1g (2001), citing Graham ¥. Connor 490 U. Ss. 386 (1988). Plaintiffs have submitted theit experts

19 scientific ballistic analysis which establishes genuine issues of material fact and Defendants? ‘motion : -
20 should be denied.

21) DATED: August 11, 2014

22 Sf DenaM: Acosta
93 | Fe CS Anton Gerschler, , Esq.

24 . - oo Pe . Attomey for: Plaintiff -

oo no o Jennifer Medina |

26|

Gase 3:08-cv-01252-BAS-RBB Document 120 Filed 08/12/14 Pagell).3426 Page 31 of a1 —

Oo CO “SIO WT BP WH NB =

BPN NN NO NR RR Re a a a eg
ao SN DN OH BF Be ME SE SG BO we HH tr URUK OG

CERTIFICATE OF SERVICE

Case: Jennifer Medina v. County No. 08-CV-1 252 AJB (RBB)
of San Diego et al

I certify that on August 12, 2014. | electronically filed the following document with

the Clerk of the Court by using the CM/ECF system:

PLAINTIFFS OPPOSITION TO DEFENDANTS MOTIONS FOR SUMMARY
JUDGMENT OR ALTERNATIVELY SUMMARY ADJUDICATION

Participants in the case who are registered CM/ECF users will be served by the
CM/ECF system.

Michael P. Cayaban, Esq. Lee H. Roistacher, Esq.
Office of Attorney General Daley & Heft

mike.cayaban@doj.ca.gov lroistacher@daley-heft.com
docketingsdawt@doj.ca.gov

Ricky R. Sanchez, Esq. Elaine Heine, Esq.
David Brodie, Esq. ElaineHeine@aol.com
Office of County Counsel

ricky. sanchez@sdcounty.ca.gov

| declare under penaity of perjury under the laws of the State of California that
the foregoing is true and correct and that this declaration was executed on August 12
2014, at Encinitas, California.

/s/ Dena M. Acosta
Dena M. Acosa

1

{
;
j

